Case 2:24-cr-00621-MWF Document47_ Filed 11/14/24 Page1lofi Page ID #349

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

PLAINTIFF ) CASENUMBER: 2:24-cr-00621-MWF-6 [J Under Seal
INIT. APP. DATE: 11/14/2024 TIME: 1:30 PM
Vv. ———

Durk Banks CHARGING DOC: Superseding Indictment A

DEFENDANT STATUS: In Custody

(_] PREVIOUSLY CALENDARED HOSPITALIZED DEFENDANT

DEFENDANT. ‘
VIOLATION: 18:1958
ry 2 / gf 2
COURTSMART/REPORTER: (P QQ ////U/Q2U-
f 1 XN
PROCEEDINGS HELD BEFORE UNITED STATES CALENDAR/PROCEEDINGS SHEET
MAGISTRATE JUDGE Patricia Donahue LOCAL/OUT-OF-DISTRICT CASE
PRESENT: Isabel Verduzco Wat ah H| Wroipnor
Deputy Clerk : Assistant U.S. Attorney Interpreter / Language

oO ITIAL APPEARANCE NOT HELD - CONTINUED
on. issues Order under Fed. R. Crim. P. 5(f) concerning prosecutor's disclosure obligations; see General Order 21-02 (written order).
De

fendant informed of charge and right to: remain silent; appointment of counsel, if indigent; right to bail; bail review and
ini hearing OR O removal hearing / Rule 20.

Defendant states true name [gs as charged 1 is

1 Court ORDERS the caption of the Indictment/Information be changed to reflect defendant's different true name. Counsel are
directed to file all future documents reflecting the true name as stated on the record.

O Pefendant advised of consequences of false statement/n financial affidavit. All financial affidavits must be filed under seal.
i snorasy Christy O'Connor 4a ou CO Apptd. 0 Prev. Apptd. 4] DFPD (1 Panel C1 Poss. Contribution

rdered (see separate order) (] Special appearance by: Twn othanr. Aran Mah c P renNACAPP Pe hix )
W Goverment request for detention is: TJ GRANTED ODENIED O METERS WN EE De

1 Contested detention hearing is held. GaDefendant is ordered: Permanently Detained Temporarily Detained (see separate order)

CO BAIL FIXED AT $ (SEE ATTACHED COPY OF CR-1 BOND FORM FOR CONDITIONS)

1 Government moves to UNSEAL Complaint/Indictment/Information/Entire Case: [] GRANTED [DENIED

OQ Preliminary Hearing waived. DClass B Misdemeanor CO Defendant is advised of maximum penalties

(1 This case is assigned to Magistrate Judge . Counsel are directed to contact the clerk for the setting
of all further proceedings.

1 PO/PSA WARRANT C1 Counsel are directed to contact the clerk for District Judge for the
setting of further proceedings.

(1 Preliminary Hearing set for at 11:30 AM _in Los Anaeles

OD Post-Indictment Arraignment set for: at 8:30 AM in Los Anaeles

(1 Government’s motion to dismiss case/defendant only) T1GRANTED [ODENIED

(1 Defendant’s motion to dismiss for lack of probable cause: TGRANTED © DENIED

(1 Defendant executed Waiver of Rights. O Process received.

1 Court ORDERS defendant Held to Answer to District of
C1 Bond to transfer, if bail is posted. Defendant to report on or before
(] Warrant of removal and final commitment to issue. Date issued: By CRD:

(1 Warrant of removal and final commitment are ordered stayed until

fet Case continued to (Date) jf / ZILA Y (Time) a OU DAM/ BPM
TOom

EY Ty e of Hearing: Ae th. kh Before Judge Cem </ Duty Magistrate Judge.
roceedings will be held in the utyCou ff Judge’s Courtroom FBO
De

fendant committed to the custody of the U.S. Marshal Os
». ummons: Defend: i
(1) Abstract of Court Proceeding (CR-53) issued. Copy forwarded to USM. ATL SES PUSSHOTEOLER NOX pocessing,

O1 Abstract of Order to Return Defendant to Court on Next Court Day (M-20) issued. Original forwarded to USM.

Oo Electronic Release Order issued (if jssued using Release Book: Release Order No. ). fe4
Boner 2) (4 held pee Leora 42 PIP Mivrured,

RECEIVED: Ko [PROBATION [] FINANCIAL []CR-10 [READY Deputy Clerk rian OV

M-5 (10/23) CALENDAR/PROCEEDINGS SHEET - LOCAL/OUT-OF-DISTRICT CASE Page 1 of 1.

